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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
     Plaintiff,                                           1: 19-CR-00018 (ABJ)

V.

ROGER JASON STONE, JR.,
    Defendants.                                           FEBRUARY 20, 2020


               MOTION FOR LEAVE FOR MICHAEL CERNOVICH TO FILE

          Mr. Michael Cernovich respectfully moves the Court for leave to file a limited

motion to intervene in this case for purposes of obtaining public records collected by the

Court during voire dire in the above captioned matter. A copy of Mr. Cernovich's proposed

motion to intervene, an affidavit from Mr. Cernovich, and various exhibits are enclosed

within.

          As a journalist, Mr. Cernovich acts as a proxy for the public in advancing its

understanding of the criminal justice system. Press-Enterprise Co. v. Superior Court of

California, Riverside County, 464 U.S. 501, 508-09 (1984). The First Amendment creates

a presumptive right of public access to voire dire. Id. Mr. Cernovich seeks the Court's

permission to move to exercise his First Amendment right to access public records

concerning voire dire in the instant case.

          In light of the grave constitutional concerns regarding the jury in this matter, Mr.

Cernovich respectfully requests the Court for leave to file as a third party in the above

captioned matter.

          WHEREFORE, it is respectfully requested that the Court grant the movant's limited

motion .
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                                                 The Movant,

                                                 By: /s/ Norman A. Pattis /s/
                                                        NORMAN A. PATTIS
                                                        PATTIS & SMITH, LLC
                                                        383 Orange Street
                                                        New Haven, CT 06511
                                                        T: (203) 393-3017
                                                        F: (203) 393-9745
                                                        npattis@pattislaw.com
                                                        Federal Bar No.: CT0013


                              CERTIFICATE OF SERVICE
       I hereby certify that on the date above a copy of the foregoing MOTION FOR

LEAVE FOR MICHAEL CERNOVICH TO FILE was filed by mailing a copy to the Clerk's

office and served by certified mail on the following counsel of record :

J.P. Cooney
U.S. Attorney's Office For The District Of Columbia
555 Fourth Street, NW
Washington, DC 20530
Tel: (202) 252-7281
Email: joseph.cooney@usdoj.gov


John Crabb , Jr.
U.S. Attorney's Office
555 Fourth Street, NW
Room 11-844
Washington, DC 20530
Tel: (202) 252-1794
Email: John.D.Crabb@usdoj.gov

L. Peter Farkas
Halloran Farkas & Kittila, LLP
1101 30th Street, NW
Suite 500
Washington, DC 20007
Tel: (202) 559-1700
Fax: (202) 257-2019
Email: pf@hfk. law
     Case 1:19-cr-00018-ABJ Document 350 Filed 02/26/20 Page 3 of 3




Robert C Buschel
Buschel & Gibbons, P.A.
One Financial Plaza
100 S.E. Third Avenue
Suite 1300
Ft. Lauderdale, FL 33394
Tel: (954) 530-5301
Email: buschel@bglaw-pa .com

Bruce S. Rogow
Law Office of Bruce S. Rogow, P.A.
100 NE 3rd Avenue, Suite 1000
Fort Lauderdale, FL 33301
Tel: (954) 767-8909
Fax: (954) 764-1530
Email: brogow@ rogowlaw.com

Grant J. Smith
STRATEGYSMITH, P.A.
401 East Las Olas Boulevard, Suite 130-120
Fort Lauderdale, FL 33301
Tel: 954-328-9064
Email: gsmith@strategysmith.com

Seth Ginsberg
299 Broadway, Suite 1405
New York, NY 10007
Tel: 212-227-6655
Email: srginsberg@mac.com

Tara A. Campion
LAW OFFICE OF BRUCE S. ROGOW, P.A.
100 NE 3rd Avenue, Suite 1000
Fort Lauderdale, FL 33301
Tel: (954) 767-8909
Fax: (954) 764-1530
Email: tcampion@rogowlaw.com

                                             /s/ Norman A. Pattis /s/
                                             Norman A. Pattis, Esq.
